Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 1 of 7 Page ID #:1




 1     CENTER FOR DISABILITY ACCESS
       Raymond Ballister Jr., Esq., SBN 111282
 2     Russell Handy, Esq., SBN 195058
       Dennis Price, Esq., SBN 279082
 3     Amanda Seabock, Esq., SBN 289900
       Mail: 8033 Linda Vista Road, Suite 200
 4     San Diego, CA 92111
       (858) 375-7385; (888) 422-5191 fax
 5     amandas@potterhandy.com
 6     Attorneys for Plaintiff
 7
 8
                               UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia                            Case No.

12               Plaintiff,
                                                 Complaint For Damages And
13       v.                                      Injunctive Relief For Violations
                                                 Of: Americans With Disabilities
14     ZAX Properties LLC, a California          Act; Unruh Civil Rights Act
       Limited Liability Company;
15     Alma J. Fuentes

16               Defendants.

17
18         Plaintiff Orlando Garcia complains of ZAX Properties LLC, a

19   California Limited Liability Company; Alma J. Fuentes; and alleges as

20   follows:

21
22     PARTIES:

23     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a

24   level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual

25   dexterity issues. He uses a wheelchair for mobility.

26     2. Defendant ZAX Properties LLC owned the real property located at or

27   about 2100 S Central Ave, Los Angeles, California, in October 2020.

28     3. Defendant ZAX Properties LLC owns the real property located at or


                                            1

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 2 of 7 Page ID #:2




 1   about 2100 S Central Ave, Los Angeles, California, currently.
 2     4. Defendant Alma J. Fuentes owned KDJ 99¢ located at or about 2100 S
 3   Central Ave, Los Angeles, California, in October 2020.
 4     5. Defendant Alma J. Fuentes owns KDJ 99¢ (“Store”) located at or about
 5   2100 S Central Ave, Los Angeles, California, currently.
 6     6. Plaintiff does not know the true names of Defendants, their business
 7   capacities, their ownership connection to the property and business, or their
 8   relative responsibilities in causing the access violations herein complained of,
 9   and alleges a joint venture and common enterprise by all such Defendants.
10   Plaintiff is informed and believes that each of the Defendants herein is
11   responsible in some capacity for the events herein alleged, or is a necessary
12   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
13   the true names, capacities, connections, and responsibilities of the Defendants
14   are ascertained.
15
16     JURISDICTION & VENUE:
17     7. The Court has subject matter jurisdiction over the action pursuant to 28
18   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
20     8. Pursuant to supplemental jurisdiction, an attendant and related cause
21   of action, arising from the same nucleus of operative facts and arising out of
22   the same transactions, is also brought under California’s Unruh Civil Rights
23   Act, which act expressly incorporates the Americans with Disabilities Act.
24     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is
26   located in this district and that Plaintiff's cause of action arose in this district.
27
28     FACTUAL ALLEGATIONS:


                                               2

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 3 of 7 Page ID #:3




 1     10. Plaintiff went to the Store in October 2020 with the intention to avail
 2   himself of its goods and to assess the business for compliance with the
 3   disability access laws.
 4     11. The Store is a facility open to the public, a place of public
 5   accommodation, and a business establishment.
 6     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 7   to provide wheelchair accessible paths of travel in conformance with the ADA
 8   Standards as it relates to wheelchair users like the plaintiff.
 9     13. The Store provides paths of travel to its customers but fails to provide
10   any wheelchair accessible paths of travel.
11     14. One problem that plaintiff encountered is that there was an unramped
12   step at the entrance of the Store.
13     15. Plaintiff believes that there are other features of the paths of travel that
14   likely fail to comply with the ADA Standards and seeks to have fully compliant
15   paths of travel available for wheelchair users.
16     16. On information and belief, the defendants currently fail to provide
17   wheelchair accessible paths of travel.
18     17. These barriers relate to and impact the plaintiff’s disability. Plaintiff
19   personally encountered these barriers.
20     18. As a wheelchair user, the plaintiff benefits from and is entitled to use
21   wheelchair accessible facilities. By failing to provide accessible facilities, the
22   defendants denied the plaintiff full and equal access.
23     19. The failure to provide accessible facilities created difficulty and
24   discomfort for the Plaintiff.
25     20. Even though the plaintiff did not confront the following barriers, the
26   paths of travel inside the Store are too narrow. Additionally, the sales counter
27   is too high and there is no lowered portion of the sales counter. Plaintiff seeks
28   to have these barriers removed as they relate to and impact his disability.


                                              3

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 4 of 7 Page ID #:4




 1     21. The defendants have failed to maintain in working and useable
 2   conditions those features required to provide ready access to persons with
 3   disabilities.
 4     22. The barriers identified above are easily removed without much
 5   difficulty or expense. They are the types of barriers identified by the
 6   Department of Justice as presumably readily achievable to remove and, in fact,
 7   these barriers are readily achievable to remove. Moreover, there are numerous
 8   alternative accommodations that could be made to provide a greater level of
 9   access if complete removal were not achievable.
10     23. Plaintiff will return to the Store to avail himself of its goods and to
11   determine compliance with the disability access laws once it is represented to
12   him that the Store and its facilities are accessible. Plaintiff is currently deterred
13   from doing so because of his knowledge of the existing barriers and his
14   uncertainty about the existence of yet other barriers on the site. If the barriers
15   are not removed, the plaintiff will face unlawful and discriminatory barriers
16   again.
17     24. Given the obvious and blatant nature of the barriers and violations
18   alleged herein, the plaintiff alleges, on information and belief, that there are
19   other violations and barriers on the site that relate to his disability. Plaintiff will
20   amend the complaint, to provide proper notice regarding the scope of this
21   lawsuit, once he conducts a site inspection. However, please be on notice that
22   the plaintiff seeks to have all barriers related to his disability remedied. See
23   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
24   encounters one barrier at a site, he can sue to have all barriers that relate to his
25   disability removed regardless of whether he personally encountered them).
26
27   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
28   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all


                                               4

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 5 of 7 Page ID #:5




 1   Defendants.) (42 U.S.C. section 12101, et seq.)
 2     25. Plaintiff re-pleads and incorporates by reference, as if fully set forth
 3   again herein, the allegations contained in all prior paragraphs of this
 4   complaint.
 5     26. Under the ADA, it is an act of discrimination to fail to ensure that the
 6   privileges, advantages, accommodations, facilities, goods and services of any
 7   place of public accommodation is offered on a full and equal basis by anyone
 8   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 9   § 12182(a). Discrimination is defined, inter alia, as follows:
10            a. A failure to make reasonable modifications in policies, practices,
11                or procedures, when such modifications are necessary to afford
12                goods,    services,    facilities,   privileges,    advantages,   or
13                accommodations to individuals with disabilities, unless the
14                accommodation would work a fundamental alteration of those
15                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
16            b. A failure to remove architectural barriers where such removal is
17                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
18                defined by reference to the ADA Standards.
19            c. A failure to make alterations in such a manner that, to the
20                maximum extent feasible, the altered portions of the facility are
21                readily accessible to and usable by individuals with disabilities,
22                including individuals who use wheelchairs or to ensure that, to the
23                maximum extent feasible, the path of travel to the altered area and
24                the bathrooms, telephones, and drinking fountains serving the
25                altered area, are readily accessible to and usable by individuals
26                with disabilities. 42 U.S.C. § 12183(a)(2).
27     27. When a business provides paths of travel, it must provide accessible
28   paths of travel.


                                             5

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 6 of 7 Page ID #:6




 1     28. Here, accessible paths of travel have not been provided in conformance
 2   with the ADA Standards.
 3     29. When a business provides facilities such as sales or transaction counters,
 4   it must provide accessible sales or transaction counters.
 5     30. Here, accessible sales or transaction counters have not been provided in
 6   conformance with the ADA Standards.
 7     31. The Safe Harbor provisions of the 2010 Standards are not applicable
 8   here because the conditions challenged in this lawsuit do not comply with the
 9   1991 Standards.
10     32. A public accommodation must maintain in operable working condition
11   those features of its facilities and equipment that are required to be readily
12   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
13     33. Here, the failure to ensure that the accessible facilities were available
14   and ready to be used by the plaintiff is a violation of the law.
15
16   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
17   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
18   Code § 51-53.)
19     34. Plaintiff repleads and incorporates by reference, as if fully set forth
20   again herein, the allegations contained in all prior paragraphs of this
21   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
22   that persons with disabilities are entitled to full and equal accommodations,
23   advantages, facilities, privileges, or services in all business establishment of
24   every kind whatsoever within the jurisdiction of the State of California. Cal.
25   Civ. Code §51(b).
26     35. The Unruh Act provides that a violation of the ADA is a violation of the
27   Unruh Act. Cal. Civ. Code, § 51(f).
28     36. Defendants’ acts and omissions, as herein alleged, have violated the


                                              6

     Complaint
Case 2:20-cv-11183-JFW-KS Document 1 Filed 12/10/20 Page 7 of 7 Page ID #:7




 1   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
 2   rights to full and equal use of the accommodations, advantages, facilities,
 3   privileges, or services offered.
 4      37. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
 5   discomfort or embarrassment for the plaintiff, the defendants are also each
 6   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 7   (c).
 8
 9            PRAYER:
10            Wherefore, Plaintiff prays that this Court award damages and provide
11   relief as follows:
12          1. For injunctive relief, compelling Defendants to comply with the
13   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
14   plaintiff is not invoking section 55 of the California Civil Code and is not
15   seeking injunctive relief under the Disabled Persons Act at all.
16          2. Damages under the Unruh Civil Rights Act, which provides for actual
17   damages and a statutory minimum of $4,000 for each offense.
18          3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
19   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
20
21   Dated: December 9, 2020             CENTER FOR DISABILITY ACCESS
22
23
24
                                         By: _______________________
25
                                               Russell Handy, Esq.
26                                             Attorney for plaintiff
27
28


                                               7

     Complaint
